                                      Case:05-04680-ESL7 Doc#:21 Filed:01/03/07
                                                                            FORM 1 Entered:01/03/07 00:43:53                                                  Desc: Main
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                                                        INDIVIDUAL ESTATE PROPERTY   1 of 2AND REPORT
                                                                                   RECORD                                                                                                             Page:       1
                                                                                                ASSET CASES
Case No:            05-04680      ESL Judge: ENRIQUE S. LAMOUTTE                                                                 Trustee Name:                      NOREEN WISCOVITCH-RENTAS
Case Name:          RODRIGUEZ ROSA, JOSE ALBERTO                                                                                 Date Filed (f) or Converted (c):   05/20/05 (f)
                    ALVARADO TORRES, CARMEN LOURDES                                                                              341(a) Meeting Date:               06/21/05
For Period Ending: 09/30/06                                                                                                      Claims Bar Date:



                                     1                                           2                          3                         4                         5                                 6
                                                                                                   Estimated Net Value            Property
                                                                             Petition/        (Value Determined by Trustee,      Abandoned                 Sale/Funds               Asset Fully Administered (FA)/
                              Asset Description                             Unscheduled          Less Liens, Exemptions,      OA=554(a) Abandon            Received by             Gross Value of Remaining Assets
                  (Scheduled and Unscheduled (u) Property)                    Values                and Other Costs)          DA=554(c) Abandon             the Estate

 1. RESIDENCE                                                                  200,000.00                             0.00                                               0.00                          0.00
     Estancias de Tortugeros/ Lot No. 25105. Solar marcado con el numero
     6 del Bloque P de la Urb. Estancias de Tortugero, Bo. Algarrobo Vega
     Baja.


 2. CASH                                                                             100.00                           0.00           DA                                  0.00                          0.00
     Cash


 3. FINANCIAL ACCOUNTS                                                               685.00                           0.00           DA                                  0.00                          0.00
     Doral Bank


 4. HOUSEHOLD GOODS                                                              3,000.00                             0.00           DA                                  0.00                          0.00
     Furnishing 3bedroom set, Lininb room set, Dining room set.


 5. WEARING APPAREL                                                                  400.00                           0.00           DA                                  0.00                          0.00
     Wearing apparel


 6. VEHICLES                                                                     5,000.00                             0.00           DA                                  0.00                          0.00
     1999 Dodge RAM (surrendered).


 7. MACHINERY AND SUPPLIES                                                             0.00                           0.00           DA                                  0.00                          0.00
     1995 Loader W. 500


 8. ACCOUNTS RECEIVABLE                                                          Unknown                        49,500.00                                                0.00                          0.00
     A/R Agregados de HOrmigon d/b/a, Against Sigfredo Velez Garcia.




LFORM1                                                                                                                                                                                                        Ver: 11.70a
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                                                                                                                                                                                                     Gross Value of Remaining Assets
 TOTALS (Excluding Unknown Values)                                                   $    209,185.00                     $    49,500.00                                           $        0.00                            $0.00
                                                                                                                                                                                                     (Total Dollar Amount in Column 6)

   _____________________________________________________________________________________________________________________________
   Major activities affecting case closing which are not reflected above, and matters pending, date of hearing or sale, and other action:


   Administration of Cases. Collection of A/R November 20, 2006, 10:29 am


   Initial Projected Date of Final Report (TFR): / /            Current Projected Date of Final Report (TFR): / /


           /s/     NOREEN WISCOVITCH-RENTAS
   __________________________________________ Date: 12/29/06
           NOREEN WISCOVITCH-RENTAS




LFORM1                                                                                                                                                                                                                             Ver: 11.70a
